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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


SECURITIES AND EXCHANGE
COMMISSION,

                           Plaintiff,
                                                     Civil Action File No.
                                                     1:16-cv-1752-LMM
                      v.


HOPE ADVISORS, LLC, and KAREN
BRUTON,

                           Defendants,

and

JUST HOPE FOUNDATION,


                           Relief Defendant.


                NOTICE OF INTENT TO SERVE SUBPOENA

      Plaintiff Securities and Exchange Commission (“Commission”) hereby gives

notice pursuant to Federal Rule of Civil Procedure 45 that it will cause to be served

a subpoena for the production of documents upon Blankenship CPA Group, PLLC.

      A true and correct copy of the subpoena is attached.
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Dated: December 12, 2017


                                  Respectfully submitted,

                                  /s/Joshua A. Mayes
                                  Joshua A. Mayes
                                  Senior Trial Counsel
                                  Georgia Bar No. 143107
                                  mayesj@sec.gov
                                  (404) 842-5747
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                          CERTIFICATE OF SERVICE

      I hereby certify that I electronically filed the foregoing with the Clerk of this
Court using the CM/ECF system which will send notice of such filing to counsel of
record.

Dated: December 12, 2017

                                                     /s/ Joshua A. Mayes
                                                     Joshua A. Mayes
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 AO 88B (Rev. 02/14) Subpoena to Produce Documents,Information, or Objects or to Permit Inspection of Premises in a Civil Action



                                        UNITED STATES DISTRICT COURT
                                                                           for the
                                                     Northern District of Georgia

                                 SEC
                                             —-—                    - _       )
                               Plaintiff
                              v.                                              )        Civil Action No. 1:16-cv-1752-LMM
                      Hope Advisors, et. al                                   )

                              Defendant

                        SUBPOENA TO PRODUCE DOCUMENTS,INFORMATION,OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:                               Blankenship CPA Group, PLLC, 215 Ward Circle, Brentwood, TN 37027

                                                       (Name ofperson to whom this subpoena is directed)

        Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:See Exhibit A



  Place: United States Attorney c/o Henry Leventis                                      Date and Time:
        110 9th Ave S # A961, Nashville, TN 37203
                                                                                                      December 27, 2017 at 4:00 pm

     ~ Inspection ofPremises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                               Date and Time:



        The following provisions of Fed. R. Civ. P. 45 are attached —Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this bpoena and the potential consequences of not doing so.

Date:        I°~      ~Z'
                                   CLERK OF CO URT
                                                                                           OR                 r

                                           Signatasre ofClerk or Dep2~ty Clerk                                       Attor~aey's sagnature


The naive, address, e-mail address, and telephone number of the attorney representing (n~rne ofparry)                                    Securities
& Exchange Commission                                                                           ,who issues or requests this subpoena, are:
Joshua Mayes, 950 E. Paces Ferry Rd, Ste. 900, Atlanta, GA 30326, mayesj@sec.gov, 404-842-5747

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 02/14) Subpoena to Produce Documents,Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 2)

Civil Action No. 1:16-cv-1752-LMM

                                                  PROOF OF SERVICE
                    (This section should not befiled with the court unless required by Fed. R. Civ. P. 45.)

          I received this subpoena for (name oftndtvtdual and title, ifany)
on (date)



          ~ I served the subpoena by delivering a copy to the named person as follows:


                                                                                         on (date)                                  ; or


          ~ I returned the subpoena unexecuted because:



          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness the fees for one day's attendance, and the mileage allowed by law, in the amount of



My fees are $                                    for travel and $                             for services, for a total of $               0.00


         I declare under penalty of perjury that this information is true.


Date
                                                                                                 Server's signature




                                                                                               Printed name and title




                                                                                                  Server's address


Additional information regarding attempted service, etc.:
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AO 88B (Rev. 02/14)Subpoena to Produce Documents,Information, orObjects or to Permit Inspection ofPremises in a Civil Acrion(Page 3)

                              Federal Rule of Civil Procedure 45 (c),(d),(e), and (g)(Effective 12/1/13)
(c)Place of Compliance.                                                               (ii) disclosing an unretained expert's opinion or information that does
                                                                                 not describe specific occurrences in dispute and results from the expert's
 (1)For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                  (C)Specifying Conditions as an Alternative. In the circumstances
  (A)within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may,instead of quashing or
regularly transacts business in person; or                                       modifying a subpoena, order appearance or production under specified
  (B)within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                           (i) shows a substantial need for the testimony or material that cannot be
     (i) is a party or a party's officer; or                                     otherwise met without undue hardship; and
     (ii) is commanded to attend a trial and would not incur substantial              (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                 (e)Duties in Responding to a Subpoena.
 (2)For Other Discovery. Asubpoena-may command:
  (A)production of documents, electronically stored information, or               (1)Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is      procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                         information:
  (B)inspection of premises at the premises to be inspected.                       (A)Documents. A person responding to a subpoena to produce documents
                                                                                 must produce them as they are kept in the ordinary course of business or
(d)Protecting a Person Subject to a Subpoena; Enforcement.                       must organize and label them to correspond to the categories in the demand.
                                                                                   (B)Formfor Producing Electronically Stored Information Not Specified.
 (1)Avoiding Undue Burden or Expense;Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps        information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the             which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must             (C~ Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include           person responding need not produce the same electronically stored
lost earnings and reasonable attorney's fees—on a party or attorney who          information in more than one form.
fails to comply.                                                                   (D)Inaccessible Electronically Stored Information. The person
                                                                                 responding need not provide discovery ofelectronically stored information
 (2) Command to Produce Materials or Permit Inspection.                          from sources that the person identifies as not reasonably accessible because
  (A)Appearance Not Required. A person commanded to produce                      ofundue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to          order, the person responding must show that the informarion is not
pernut the inspection ofpremises, need not appear in person at the place of      reasonably accessible because of undue burden or cost. Ifthat showing is
production or inspection unless also commanded to appear for a deposition,       made, the court may nonetheless order discovery from such sources ifthe
hearing, or trial.                                                               requesting party shows good cause, considering the limitations of Rule
  (B)Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or         (2) Claiming Prtvilege or Protection.
sampling any or all ofthe materials or to inspecting the premises--or to         (A)Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.     under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier ofthe time specified for        material must:
compliance or 14 days after the subpoena is served. If an objection is made,        (i) expressly make the claim; and
the following rules apply:                                                          (ii) describe the nature ofthe withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party      tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an         privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                       (B)Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the     subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party's officer from   trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                  that received the information of the claim and the basis for it. After being
                                                                                notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                          information and any copies it has; must not use or disclose the information
  (A) When Required. On timely motion, the court for the district where         until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                    information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                            present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits            compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                        produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no   resolved.
exception or waiver applies; or
     (iv)subjects a person to undue burden.                                     (g)Contempt.
 (B) When Permitted. To protect a person subject to or affected by a            The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may,on        motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                            who, having been served, fails without adequate excuse to obey the
     (i) disclosing a trade secret or other confidential research,              subpoena or an order related to it.
development, or commercial information; or



                                        For access to subpoena materials, see Fed. R. Civ. P. 45(a)Committee Note(2013).
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      EXHIBIT A TO BLANKENSHIP SUBPOENA DATED 11-20-2017

In lieu of producing documents to the address on the subpoena, you may send copies

of documents responsive to the subpoena to the following address:


             ENF-CPU

             U.S. Securities and Exchange Commission

              100 F St., N.E., Mailstop 5973

             Washington, DC 20549-5973



      Written communications regarding the subpoena should be sent to the Atlanta

Regional Office ofthe Securities and Exchange Commission, c/o Joshua A. Mayes,

950 East Paces Ferry Road, N.E., Suite 900, Atlanta, Georgia 30326. Mr. Mayes

may also be reached at 404-842-5747 or mayesj@sec.gov.


                                   DEFINITIONS

      As used in this Request for the Production of Documents,the terms below

shall have the following meanings:


             The term "document" means all preserved matter of any kind and

however created, produced, and stored, whether it be manually, mechanically,

electronically or otherwise, in an original form or a true copy ofthe same, together

with each and every nonconforming version ofthe copy, in your. actual or

constructive possession, custody or control. The term includes, but is not limited to
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letters, correspondence, telegrams, telexes, fax communications, telephone records,

memoranda, notes, reports, papers, files, books, records, ledgers,journals, financial

statements, opinions, studies, lists, contracts, agreements, recommendations;

summaries, interviews, speeches, affidavits, transcripts, depositions, press releases,

brochures, diary entries, calendars, appointment books, minutes, inter-office

communications, working papers, computer printouts, government forms,

instructions, articles of incorporation, partnership agreements, employee records,

office manuals, messages, sound tapes, computer tapes, computer diskettes, computer

hard disks, CD-ROM,DVD or other disc, microfilm, microfiche, magnetic tape,

photographs, videotapes, audiotapes, films or any other electronic media, magnetic

media or laser media. Each draft of a document is a separate document. Each non-

identical copy or version of a document is a separate document.


      2.     The terms "and" and "or" shall be construed either disjunctively or

conjunctively so as to bring within the scope.ofthe request all documents which

might otherwise be construed to be outside its scope.


      3.     "Communication" means any transmission of information,

correspondence, contract, discussion or exchange between any two or more

persons or other act or instance, whether oral or written, formal or informal,

intentional or unintentional, whereby information was conveyed, transmitted or

acquired. Without limiting the foregoing;"communication" includes all
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   documents, telephone conversations or face-to-face conversations, meetings or

   conferences, emails or other electronic communications.


          4.      The terms "relate to," "relating to," "related to" and."relates to" shall

   have the broadest possible meaning and shall include but not be limited to, regarding,

   constituting, involving, concerning, respecting, referring to, reflecting, tending to

   establish or not to establish, evidencing, comprising, connected to or with or

   including, such that it connects one to another to any degree, however remote.


          5.      The term "any," "all" and "each" shall be construed as any, all and

   each so as to bring within the scope ofthe request all documents which might

   otherwise be construed to be outside its scope.


         6.      The term "including" means without limitation.


         7.      The terin "Blankenship" shall mean Blankenship CPA Group,PLLC

   and.ariy ofits agents, employees,'partners; members or contractors working on its

.: behalf.


                                      INSTRUCTIONS


          1.     The singular shall include the plural and vice versa so as to bring within

   the scope ofthe request-.all documents which might otherwise~be construed to be

   outside its scope.
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       2.     Each request extends to any document in your possession, custody or

control. A document is in your possession, custody or control if it is in your physical

possession or if it is in the physical possession of your officers, directors, employees,

subordinates, agents or any other persons acting on your behalf, or if it is in the

physical possession of any other person and you (a)own such document in whole or

in part,(b) have a right to retrieve, use, inspect, examine or copy such document,(c)

have an understanding, express or implied, that you may retrieve, use, inspect,

examine or copy such document.


       3.    If any document is withheld under claim ofprivilege, so state and

identify each document for which a privilege is claimed, including specifically the

following information: (a)the title ofthe document; (b)the date ofthe document;

(c)the number of pages;(d)the subject matter ofthe document; (e)the full names

and positions ofthe authors ofthe document; (~ the full names and positions ofthe

persons to whom the document was sent; (g)the full names and positions ofthe

persons to whom the document was shown or its contents communicated; (h)the

requests to which the document is responsive; and (i) the privilege asserted.


      4.     If any document responsive to this request no longer exists, please so

state and as to each and every such document state: (a) its title; (b)its date; (c)the

number of pages; (d)the subject matter ofthe document; (e)the full names and

positions of the authors ofthe document; (~ the full names and positions ofthe
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persons to whom the document was sent; (g)the requests to which the documents is

responsive; (h)the time, place, manner and circumstances ofthe destruction'or other

disposition ofthe document;(i)the persons who destroyed or otherwise disposed of

it; and (j) your document retention policy related to documents like the one that is

missing.


      5.     All requested documents shall be produced as they are kept in the

ordinary course of business or shall be organized and labeled to correspond to the

specific request or requests to which they are responsive.


      6.     Unless specified otherwise, the time period encompassed by the request

is from January 1, 2012 to the present.


      8.      The produced documents should be consecutively numbered and

marked to identify it as being produced by Blankinship.


      9.     Copies of documents maintained in electronic formats should_ be.

produced in a Concordance compatible electronic format and incompliance with the

technical requirements set out in the attached copy of the SEC's Data Delivery

Standards.
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                      DOCUMENTS TO BE PRODUCED


   1. All Schedule K1 tax forms relatied to Hope Investments; LLC; HDB

Investments, LLC; or Impact Capital Investments, LLC.

   2. All documents related to Hope Investments, LLC; HDB Investments, LLC;

Impact Capital Investments, LLC; or Hope Advisors, LLC,including but not limited

to, any and all communications, workpapers, memoranda, notes and drafts.
